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            REPORT OF' FACTUAL tr"II\TDINGS
           OF II\TYESTIGATION CONC ERI\ING
                DR. JASON REZA JOR.IATII

                          February 9r20tE




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        5.     Dr. Iaron Rcza loqimi, Univtaity   Lcctrtr, Deprtnd of Hmmitics;
        6.     Dr. EricKf, Profesor Ead CXsir, Deprrtmcal of Hunmitics;
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